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                              :{
                             "..,"\   '




         I)erivative Spouse

SUMAJIT, Melthie Conde

          DOB: 0512411971
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                                                 Notice of Entry of Appearance                                                 DHS
                                           as Attorney or Accredited Representative                                        Form G-28
                                                                                                                        OMB No. 1615-0105
                                                      Department of Homeland Securify                                    Expires 0513112021



  Part l. Information About Attorney or                                          2. Eligibility Information for Afforney or
  Accredited Represontative                                             Accredited
 l.      USCIS Online Account Number (if any)                          Select   all applicable items.
                                                                       l.a. []      I am an attomey eligible to practice law in, and a
                                                                                    member in good standing of, the bar of the highest
  Name of Attorney or Accredited Representutive                                     courts of the following states, possessions, territories,
                                                                                    commonwealths, or the District of Columbia. If you
 2.a.    Family Name                                                                need extra space to complete this section, use the
         (Last Name)          KAYE
                                                                                    space provided in Part 6. Additional Information.
 2.b.    Given Name
         (First Name)         Allen                                                             Authority

 2.c.    MiddleName           E                                                      1307222
                                                                       1.b.     Bar Number (if applicable)
 Address af Attorney or Acuedited Representative                                New York Supreme Court
 3.a.    Street Number                                                 1.c. I(selectonlyonebox)
         andName               225 B                                                                      [amnot n ut
                                                                              subject to any order suspending, enjoining, restraining,
 3.b.    n apt. I ste. ffi m                3                                 disbarring, or otherwise restricting me in the practice of
                                                                              law. Ifyou are subject to any orders, use the space
 3.c.    City or Town         New York                                        provided in Part 6. Additionat Information to provide
                                                                              an explanation.
3.d.     State    NY          3.e.   ZIP Code 10007                    l.d.   Name of Law Firm or Organization (if applicable

3.f.     Province                                                               Pollack Pollack lsaac and DeCicco LLP
                                                                       2.a. I       I am an accredited representative of the following
3.g.     Postal Code
                                                                                    qualifi ed nonprofit religious, charitable, social
3.h.     Country                                                                    service, or similar organization established in the
                                                                                    United States and recognized by the Department      of
         USA                                                                        Justice in accordance with 8 CFR pafi 1292.
                                                                       2.b.   Name of Recognized Organization
 Contact Information of Attorney or Accrediled
 Representutive
4.      Daytime Telephone Number                                       2.c.   Date of Accreditation (mm/dd/yyyy)

         2122338100
5.      Mobile Telephone Number           any)                         3.n         I am   associated   with


                                                                                   the attomey or accredited representative ofrecord
6.      Email Address (if any)                                                     who previously filed Form G-28 in this case, and my
         aek@ppid.com                                                              appearance as an attomey or accredited representative
                                                                                   for a limited purpose is at his or her request.
7.      Fax Number      (if
                                                                      4.a. n t u-        a law student or law graduate working under the
         2122339238                                                                direct supervision of the attomey or accredited
                                                                                   representative ofrecord on this form in accordance
                                                                                   with the requirements in 8 CFR 292.1(a)(2).
                                                                      4.b.    Name of Law Student or Law Graduate




Form    G-28     05123/18
                                                                                                                                 Page   I of4
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 Part 3. Notice of Appearance as Attorney or                           C I ientt s Co ntact    I nformation
 Accredited Representative
                                                                      10.                             Number
Ifyou   need extra space to complete this section, use the space
provided in Part 6. Additional Information.

This appearance relates to immigration matters before
                                                                      11.     Mobile Telephone Number (if any)
(select only one box):                                                         (e17) 86s-3525
1.a. El U.S.Citizenship and Immigration Services (USCIS)              12.     Email Address
1.b. List the form numbers or specific matter in which                         melthie00S@gmail.com
        appearance is entered.

        l-485    I lmmigration Matters                                M nil ing A d dre ss of C lie n I
2.a. f] U.S. Immigration and Customs Enforcement (ICE)                NOTE: Provide the client's mailing address. Do not provide
                                                                      the business mailing address of the attomey or accredited
2.b. List the      matter in which          is entered.
                                                                      representative unless it serves as the safe mailing address on the
                                                                      application or petition being filed with this Form G-28.

3.a. I U.S.Customs and BorderProtection (CBP)                         13.a. StreetNumber
                                                                                                10 Windi         Lane
                                                                              and Name
3.b. List the specific matter in which appearance is entered.
                                                                      tr.b.   fl   Apt.   fl   ste.   flrr
4.     Receipt Number (if any)                                        13.c. City or Town        Greenwhich
                                                                      13.d. State    CT         13.e. ZIP Code   06831
5.     I enter my appearance as an attorney or accredited
       representative at the request ofthe (select only one box):     13.f. Province
       fi Applicant I Petitioner ! Requestor                          13.g. Postal Code
       I BeneficiaryiDerivative ! Respondent (ICE, CBP)
                                                                      13.h.
I nfo r m ntio n A b o ut C I ie nt (App I icnnt, P et it io n e r,           USA
                  iary or Derivative, Respo ndent,
Req uestor, BeneJic
or Authorized Signatory for on Entity)
                                                                      Part 4. Client's Consent to Representation and
6.a.   Family Name                                                    Signature
       (Last Name)       SUMAJIT
6.b.   Given Name
                         Melthie
                                                                      Consent to Representation and Relense              of
       (FirstName)                                                    Information
6.c.   Middle Name       Conde                                        I have requested the representation ofand consented to being
7.a.   Name                applicable)                                represented by the attorney or accredited representative named
                                                                      in Part l. ofthis form. According to the Privacy Act of 1974
                                                                      and U.S. Department of Homeland Security (DHS) policy, I
7.b. Title of Authorized                                              also consent to the disclosure to the named attorney or
                            Signatory for
                                                                      accredited representative ofany records pertaining to me that
                                                                      appear in any system of records of USCIS, ICE, or CBP.
8.     Client's USCIS Online Account Number            any)


9.     Client's Alien Registration Number (                   any)
                          >A-




Form   G-28   05/23118                                                                                                        Page 2 of 4
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 Part 4. Client's Consent to Representation and                         Part 5. Signature of Attorney or Accredited
 Signature (continued)                                                  Representative
 Options Regarding Receipt             of USCIS        Notices and      I have read and understand the regulations and conditions
 Documents                                                              contained in 8 CFR 103.2 and 292 govemingappearances and
                                                                        representation before DHS. I declare under penalty of perjury
USCIS will send notices to both a represented party (the client)        under the laws of the United States that the information I have
and his, her, or its attomey or accredited representative either        provided on this form is true and correct.
through mail or electronic delivery. USCIS will send all secure
identity documents and Travel Documents to the client's U.S.
                                                                        1..   a.   Signature   of          or Accredited             ve

mailing address.
Ifyou want to have notices and/or secure identity documents
sent to your attorney or accredited representative ofrecord rather
                                                                        l.b.       Date   of Signature (mm/dd/yyyy)        \   t-t r"*   t   t"
than to you, please select all applicable items below. You may          2.a.                   oflaw   Student or Law Graduate
change these elections through written notice to USCIS.

1.a.   ffi    I request that USCIS send original notices on an
              application or petition to the business address of my     2.b.       Date of Signature (mmiddlyyyy)
              attorney or accredited representative as listed in this
              form.
1.b.   I      I request that USCIS send any secure identity
              document (Permanent Resident Card, Employment
              Authorization Document, or Travel Document) that I
              receive to the U.S. business address of my attomey or
 .            accredited representative (or to a designated military
              or diplomatic address in a foreign country (if
              permitted)).
              NOTE: If your notice contains Form I-94,
              Arrival-Departure Record, USCIS will send the
              notice to the U.S. business address ofyour attorney
              or accredited representative. Ifyou would rather
              have your Form I-94 sent directly to you, select
              Item Number l.c.
1.c. fl       I request that USCIS send my notice containing Form
              I-94 to me at my U.S. mailing address.

Signature of Client or Authorked Signatoryfor an
Entity
2.a.                     lient qr                       for an Entity
r)
2.b.   Date   of                          )      {,1    q     t8




Form   G-28   09/17118                                                                                                              Page 3   of4
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 Part 6. Additional Information                                    4.a.          Number 4.b.   Part   Number 4.c.   Item Number

Ifyou    need extra space to provide any additional information
within this form, use the space below. If you need more space      4.d.
than what is provided, you may make copies of this page to
complete and file with this form or attach a separate sheet of
paper. Type or print your name at the top ofeach sheet;
indicate the Page Number, Part Number, and Item Number
to which your answer refers; and sign and date each sheet.
l.a     Family Name
        (Last Name)
l.b.    Given Name
        (First Name)

l.c.    Middle Name

2.a.           Number 2.b.    Part   Number 2,c.     Item Number



2.it,
                                                                   5.a.   Page   Number 5.b.   Part   Number 5.c.   Item Number



                                                                   5.d.




3.a.           Number 3.b.    Part   Number 3.c.    Item Number



3.d.                                                               6.a.          Number 6.b.   Part   Number 6.c.   Item Number



                                                                   6.d.




Form    G-28   09/17/18                                                                                               Page 4   of4
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                                        Application to Register Permanent Residence
                                                       or Adjust Status                                                                     USCIS
                                                                                                                                          Form I-485
                                                      Department of Homeland Security                                                 OMB No. 1615-0023
                                                   U.S. Citizenship and Immigration Services                                          Expires 06/30/2019



                                                                For USCIS Use Only
Preference Category:
                                                                      Receipt                                              Action Block

Country Chargeable:

Priority Date:

Date Form I-693 Received:

                                                                  Section   ofLaw
 E     Applicant      E   Interview
       Interviewed        Waived              E    INA 209(a)     D   ]NA   249

 Date   of                                    tr   rNA 20e(b)     E   Sec. 13, Act   of9lll/57
 Initial Interview:                           D    INA 24s(a)     I   CubanAdjustmentAct
 Lawful Permanent                             tr   INA 24s(i)     D   other
 Resident as of:                              tr   INA 245(m)


                                      To be completed by an attorney or accredited representative (ifany).

 [J     Setect this box    if     Volag Number                    Attorney State Bar Number                Attorney or Accredited Representative
        Form G-28 is              (ifany)                         (if applicable)                          USCIS Online Account Number (if any)
        attached.
                                                                   1307222

                                                                                                    A-Number    )    A-
NOTE TO ALL APPLICANTS: If you do not completely fill out this application or fail to submit required documents listed in the
Instructions, U.S. Citizenship and Immigration Services (USCIS) may deny your application.
                                                                                     3.a.   Family Name
Part l. Information About You (Person applying                                              (LastName)
for lawful permanent residence)                                                      3.b.   Given Name
                                                                                            (First Name)
Your Current Legal Name (do not provide a
                                                                                     3.c.   Middle Name
nickname)
1.a. Family Name
                          SUMAJIT                                                    4.a.   Family Name
        (Last Name)                                                                         (LastName)
1.b. Given Name
                          Melthie                                                    4.b.   Given Name
        (First Name)                                                                        (First Name)
1.c. Middle Name Conde                                                               4.c.   Middle Name


Other Names You Have Used Since                     Birth (if                        Other Informotion About You
applicable)
                                                                                     5.     Date of Birth (mm/dd/yyyy)               0512411971
NOTE: Provide all other         names you have ever used, including
your family name at birth, other legal names, nicknames,                                    NOTE: In addition to providing your   actual date of birth,
aliases, and assumed names. Ifyou need extra space to                                       include any other dates ofbirth you have used in
complete this section, use the space provided in Part 14.                                   connection with any legal names or non-legal names in
Additional fnformation.                                                                     the space provided in Part 14. Additional Information.
2.a.    Family Name
                                                                                     6.
        (Last Name)       CONDE                                                             Sex        I   Iraale    I    Female

2.b.    Given Name                                                                   7            or Town of Birth
        (First Name)      Melthie
                                                                                             Jabonga
2.c.    MiddleName        Osic

Form    I-485 12/13/17 N                                            38003B-K                                                                 Page   I of18
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                                                                                     A-Number     )    A-


 Part l. Information About You (Person applying                  Recent Immigration History
 for lawful permanent residence) (continued)                     Provide the information for Item Numbers 15. - 19. if you last
                                                                 entered the United States using a passport or travel document.
8.                 of Birth
         PHILIPPINES                                             15.                 Number Used at Last Arrival
                                                                         xx3305186
9.            of                     or
         PHILIPPINES                                             16.     Travel Document Number Used at             Arrival

10.     Alien Registration Number
                                >A-                              17.     Expiration Date of this Passport or Travel Document
                                                                         (mm/dd/yyyy)                              0312012014
        NOTE: If you have EVER      used other A-Numbers,
        include the additional A-Numbers in the space provided   18.               that Issued this            or Travel Document
        in Part 14. Additional Information.
                                                                             PHILIPPINES
11.     USCIS Online Account Number
                                                                 19.                      Visa Number from this Passport (if any)
                                                                         51925788
12.     U.S. Social Security Number (if any)
                                                                 Place of Last Arrival into the United States

                                                                 20.a. City or Town

 U.S,   Mailing Address                                                  New York

13.a. In Care Of Name                                            20.b. State      NY

                                                                 21.     Date of Last Anival (mm/dd/yyyy)          0411512011
13.b. Street Number
      andName                 10 Winding Lane                    When I last anived in the United States, I:

l3.c.f,Apr n             Ste.   n         Fh                     22.a.   fl    Was inspected at a port of entry and admitted as (for
                                                                               example, exchange visitor; visitor, waived through;
13.d. City or Town                                                             temporary worker; student):
                              Greenwich
                                                                                82
13.e. State   CT          13.f. ZIP Code 06831
                                                                 22.b.   n     Was inspected at a port of entry and paroled as (for
                                                                                        humanitarian parole, Cuban parole):
Alternote and/or Safe Mailing Address
If you are applying based on the Violence Against Women Act
                                                                 22.c.   I     Came into the United States without admission or
(VAWA) or as a special immigrant juvenile, human trafficking
                                                                               parole.
victim (T nonimmigrant), or victim of a qualiffing crime (U
nonimmigrant) and you do not want USCIS to send notices
about this application to your home, you may provide an
                                                                 22d.    n     Other:

altemative and/or safe mailing address.
14.a. In Care Of Name                                            If you were issued a Form I-94 Anival-Departure      Record Number:

                                                                 23.a. Form I-94                            Record Number

14.b. StreetNumber
                                                                                              2       3 '2:4   7 4 8 2 6         2:4
      andName                                                    23.b. Expiration Date of Authorized Stay Shown on Form I-94
ra.c.   fl   Apr    I    Sre.   f]    Flr                                (mm/dd/yyyy)                              0111512018
f4.d. City or Town                                               23.c. Status on Form I-94 (for example, class of admission, or
                                                                                   if
14.e. State               14.f. ZIP Code



Forml-485 12/13/17 N                                                                                                        Page 2   of   18
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                                                                                           A-Number) A-


 Part I. Information About You (Person applying                           1.d.   Asylee or Refugee

 for lawful permanent residence) (continued)                                     I    Asylum status (INA section 208), Form I-589 or
                                                                                      Form I-730
24.     What is your current immigration status (if it has changed
        since your arrival)?                                                     I    Refugee status (INA section 207), Form I-590 or
                                                                                      Form I-730
           l-485 Pending
                                                                          1.e.   Human Trafficking Victim or Crime Victim
Provide your name exactly as it appears on your Form l-94           (if          !    Human trafficking victim (TNonimmigrant), Form
any)                                                                                  l-914 or derivative family member, Form I-914,A.
25.a. Family Name                                                                !    Crime victim (U Nonimmigrant), Form I-918,
       (Last Name)        SUMAJIT
                                                                                      derivative family member, Form I-918A, or
25.b. Given Name                                                                      qualifying family member, Form I-929
       (First Name)       MELTHIE
                                                                          1.f.   Special Programs Based on Certain Public Laws
25.c. Middle Name CONDE
                                                                                 !    fne Cuban Adjustment Act

Part2. Application Type or Filing Categora                                       I    fne Cuban Adjustment Act for battered    spouses and
                                                                                      children
NOTE: Attach     a copy of the Forml-797 receipt or approval                     I    Dependent status under the Haitian Refugee
notice for the underlying petition or application, as appropriate.                    Immigrant Fairness Act
I am applying to register lawful permanent residence or adjust                   !    Dependent status under the Haitian Refugee
                 lawful permanent resident based on the
status to that of a                                                                   Immigrant Faimess Act for battered spouses and
following immigrant category (select only one box). (See the                          children
Form I-485 Instructions for more information, including any
Additional Instructions that relate to the immigrant category                    fl   Lautenberg Parolees

you select.):                                                                    !    Diplomats or high ranking officials unable to retum
                                                                                      home (Section 13 of the Act of September I l, 1957)
l.a.   Family-based

       I     Immediate relative of a U.S. citizen, Form I- 130                   I    Indochinese Parole Adjustment Act of 2000

                                                                          1.g. AdditionalOptions
       I     Ottrer relative of a U.S. citizen or relative of a lawful
             permanent resident under the family-based preference                I    Diversity Visa program
             categories, Form I-130
                                                                                 I    Continuous residence in the United States since
       I     Person admitted to the United States as a fianc6(e) or                   before January 1,1972 ("Registry")
             child of a fiancd(e) of a U.S. citizen, Form I-129F
             (K- I /K-2 Nonimmigrant)                                            !    tndividual bom in the United States under diplomatic
                                                                                      status
       fl    Widow or widower of     a   U.S. citizen, Form I-360
                                                                                 X    Other
       !     VaWA seF-petitioner, Form I-360
                                                                                      l-140, Derivative Status for Spouse
l.b.   Employment-based
                                                                          2.     Are you applying for adjustment based on the
       I     Rtien worker, Form I-140                                            Immigration and Nationality Act (INA) section 245(i)?

       I     etien entrepreneur, Form I-526                                                                             fl   Yes   X      No

l c.   Special Immigrant                                                         NOTE: If you      answered "Yes" to ltem Number 2., you
                                                                                 must have selected a family-based, employment-based,
       fl    Religious worker, Form I-360
                                                                                 special immigrant, or Diversity Visa immigrant category
       f]    Special immigrant juvenile, Form I-360                              listed above in ltem Numbers 1.a. - 1.g. as the basis for
                                                                                 your application for adjustment ofstatus. Fill out the rest
       I     Certain Afghan or Iraqi national, Form I-360                        of this application and Supplement A to Form I-485,
                                                                                 Adjustment of Status Under Section 245(i) (Supplement
       f]    Certain intemational broadcaster, Form I-360
                                                                                 A). For detailed filing instructions, read the Form I-485
       I     Certain G-4 international organization or family                    Instructions (including any Additional Instructions that
             member or NATO-6 employee or family member,                         relate to the immigrant category that you selected in Item
             Form I-360                                                          Numbers 1.a. - l.g.) and Supplement A Instructions.

Form   I-485   12113117   N                                                                                                      Page 3   of l8
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                                                                                                  A-Number       )   A-

                                                                                3.     Decision (for example, approved, refused, denied,
 Part2. Application Type or Filing Category
                                                                                       withdrawn)
 (continued)

 Infornntion About Your Immigrant Cotegory
                                                                                4.     Date of Decision (mmidd/yyyy)
 If you   are the   principal applicant, provide the following
 information.
                                                                                 Address Hktory
 3.     Receipt Number      of             Petition         any)
                                                                                Provide physical addresses for everywhere you have lived
                                                                                during the last five years, whether inside or outside the United
                                                                                States. Provide your current address first. Ifyou need extra
4.      Priority Date from Underlying Petition        (if
                                                                                space to complete this section, use the space provided in
        (mm/dd/yyyy)                                                            Part   14.   Additional Information.
Ifyou  are a derivative applicant (the spouse or unmarried                      Physical Address I (current address)
child under 21 years ofage ofa principal applicant), provide the
following information for the principal applicant.                              5.a.   Street Number
                                                                                       and Name            10 Winding Lane
Principal Applicant's Name
5.a.    Family Name
                                                                                s.b.   fl      apt.   I   ste.   I rt
        (Last Name)        SUMAJIT                                              5.c.   City or Town        Greenwich
5.b.    Given Name
        (First Name)       Walter                                               5.d.   State              5.e. ZIP Code 06831
                                                                                                CT
5.c.    Middle Name        Gadrinab                                             5.f. Province
6.      Principal Applicant's A-Number
                                 >A-                                            5.g.   Postal Code

7       Principal Applicant's Date of Birth                                     5.h.

        (mm/dd/yyyy)                             0812311971                             USA
8.      Receipt Number      of           Underlying Petition (if any            Dates of Residence

                                                                                6.a.   From (mm/dd/yyyy)                         08€,012014
9.     Priority Date of Principal Applicant's Underlying petition
                                                                                6.b.   To (mm/dd/yyyy)                           Present
       (if any) (mm/dd/yyyy)
                                                                                Physical Address 2

          3. Additional Information About You                                   7.a.   StreetNumber
                                                                                       andName             90-50 52nd Avenue
1.     Have you ever applied for an immigrant visa to obtain
                                                                                7.b.Xapt.Iste.IRr.                        1
       permanent resident status at a U.S. Embassy or U.S.
       Consulate     abroad?                     [yes              X      No    7.c.   City or Town        Elmhurst
       If you answered "Yes" to Item Number 1., complete                        7.d.   State    NY        7.e. ZIP Code       11 373
       Item Numbers 2.a. - 4. below. If you need extra space to
       complete this section, use the space provided in            part   14.   7.f.   Province
       Additional Information.
Location of U.S. Embassy or U.S. Consulate                                      7.g.   Postal Code

2.a. City                                                                       7.h.

2.b.   Country                                                                          USA




Form   I-485 12/13/17 N                                                                                                                Page 4   of l8
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                                                                                                A-Number )>    A-


 Part 3. Additional Information About You                                    Address of Employer or Company
 (continued)                                                                  12.a. Street Number
                                                                                     and Name
 Dates of Residence
                                                                             l2.b.n Apt.n           Ste.   n    Flr
 8.a.   From (mm/dd/yyyy)                               0110612014           12.c. City or Town
 8.b.   To (mm/dd/yyyy)                                 0812912014           12.d. State               12.e. ZIP Code
 Provide your most recent address outside the United States
 where you lived for more than one year (if not already listed               1.2.f. Province
 above).
                                                                             12.g. Postal Code
 9.a.   Street Number
                               Tolesora Compound, Jupiter Street
        andName
                                                                             12.h.
 e.b.   napt.I             ste.   I    rr.     Pacheco Subd., City Heights


 9.c.   City or Town           General Santos Gity                           13.     Your Occupation
                                                                                      Homemaker
 9.d.   State                  9.e. ZIP Code
                                                                             Dates of Employment
 9.f.   Province               South Cotabato
                                                                             14.a. From (mm/dd/yyyy)
9.g.    Postal Code            9500
                                                                             14.b. To (mm/dd/yyyy)
9.h.
         PHILIPPINES                                                         Employer 2

Dates of Residence
                                                                             15.     Name of Employer or

10.a. From (mm/dd/yyyy)                                 o41o112009
                                                                             Address of Employer or Company
10.b. To (mm/dd/yyyy)                                  0411412011            16.a. Street Number
                                                                                     and Name

 Employment History                                                          l6.b.n Apt.n           Ste.   n   Fk
Provide your employment history for the last five years,
                                                                             16.c. City or Town
whether inside or outside the United States. Provide the most
recent employment first. If you need extra space to complete
                                                                             16.d. State               16.e. ZIP Code
this section, use the space provided in Part 14. Additionat
Information.
                                                                             16.f. Province
Employer       I (current or most   recent)
                                                                             16.9. Postal Code
11.     Name of Employer or Company
        NONE                                                                 16.h.



                                                                             17.     Your Occupation


                                                                             Dates of Employment

                                                                             18.a. From (mm/dd/yyyy)

                                                                             18.b. To (mm/dd/yyyy)




Form   I-485    12113117   N                                                                                            Page5ofl8
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                                                                           A-Number    )    A-


 Part 3. Additional Information About You                   3.     Date of Birth (mm/dd/yyyy)                0111911944
 (continued)
                                                            4.     Sex        E]lrrtale IFemale
Provide your most recent employment outside of the United
                                                            5.     City or Town of Birth
States      (ifnot   already listed above).
19.      Name        of          or Company
                                                                   Jabonga
                                                            6.     Country of Birth
            NONE
                                                                    PHILIPPINES
Address of Employer or Company
20.a. Street Number
                                                            7.     Current City or Town of Residence (if living)
         andName                                                    lligan
20.b.n Apr                n   ste.   n   Fh                 8.     Current Country of Residence (if living)

20.c. Cify or Town                                                  PHILIPPINES

20.d. State                   20.e. ZIP Code                Information About Your Parent 2
20.f. Province                                              Parent 2's Legal Name

                                                            9.a.   Family Name
20.g. Postal Code                                                  (Last Name)     CONDE
                                                            9.b.   Given Name
                                                                                   Marietta
20.h.                                                              (First Name)

                                                            9.c.   Middle Name     Osic
21.     Your Occupation
                                                            Parent 2's Name at Birth (if different than above)
            Homemaker
                                                            10.a. Family Name
Dates of Employment                                               (Last Name)      ostc
                                                            10.b. Given Name
22.a.   F   rom (mm/dd/yyyy)                                      (First Name)     Marietta
                                                            10.c. Middle Name      Villamor
22.b.To (mm/dd/yyyy)
                                                            11.    Date of Birth (mm/dd/yyyy)                oaogl1945
Part 4. Information About Your Parents
                                                            12.    Sex        I   tvtale ffi     Female

Informution About Your Purent                  I            13.          or Town of Birth

Parent I's Legal Name                                              Santa Cruz
l.a.    Family Name
                              CONDE                         14.    Country of Birth
        (Last Name)
l.b.                                                                PHILIPPINES
        Given Name
        (First Name)          Manolo
                                                            15.    Current City or Town of Residence      (if living)
1.c.    Middle Name           Magtasa                              Butuan
Parent I's Name at Birth (if different than above)          16.    Current Country of Residence (if living)
2.a.    Family Name                                                 PHILIPPINES
        (Last Name)
2.b.    Given Name
        (First Name)

2.c.    Middle Name




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                                                                                       A-Number     )   A-          iii
                                                                                                                    ;!




Part 5. Information About Your Marital Histoty                          Place of Marriage to Current Spouse

                                                                        9.a.    City or Town
l.       What is your current marital status?
                                                                                Cagayan de Oro
         !   Single, Never   Married   fi   Manied   !   Divorced
                                                                        9.b.    State or Province
         I   widowed     !   Maniage Annulled
                                                                                 Misamis Oriental
         f]Legally     Separated
                                                                        9.c.    Country
2.       If you   are married, is your spouse a current member of the
         U.S. armed forces or U.S. Coast Guard?                                  PHILIPPINES
                                         nN/AIYesXNo                    10.     Is your current spouse applying with you?

3.       How many times have you been married (including                                                              Ives nNo
         annulled marriages and marriages to the same
                                                                        Information About Prior Maniages (rf any)
                                                                        If you have been married before, whether in the United      States or
Information About Your Current Marriage                                 in any other country, provide the following information about
(including if you are legally separated)                                your prior spouse. Ifyou have had more than one previous
                                                                        marriage, use the space provided in Part 14. Additional
If you   are cunently married, provide the    following information
                                                                        Information to provide the information below.
about your current spouse,
                                                                        Prior Spouse's Legal Name (provide family name before
Current Spouse's Legal Name
                                                                        maniage)
4.a.     Family Name
         (Last Name)      SUMAJIT                                       11.a. Family Name
                                                                              (Last Name)
4.b.     GivenName
         (FirstName)      Walter                                        11.b. GivenName
                                                                              (First Name)
4.c.     MiddleName       Gadrinab                                      11.c. Middle Name
5.       A-Number (if any)
                                                                        12.     Prior Spouse's Date of Birth
                              >A-
6.       Current Spouse's Date of Birth
                                                                        13.     Date of Marriage to Prior Spouse
                                                 0812311971

7.     Date of Marriage to Cunent Spouse
                                                                        Place of Marriage to Prior Spouse
                                                 0512011994
                                                                        14,a.       or Town
Current Spouse's Place of Birth
8.a.          or Town
                                                                        14.b. State or Province
         Cagayan de Oro
8.b.     State or Province
                                                                        14.c. Country
         Misamis Oriental
8.c.   Country
                                                                        15.     Date Marriage with Prior Spouse             Ended
         PHILIPPINES                                                            (mm/dd/yyyy)




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 Part 5. Information About Your Marital History                       child   2

 (continued)                                                          Current Legal Name
                                                                      7.a.    Family Name
                                                                                               SUMAJIT
Place Where Marriage with Prior Spouse Legally Ended                          (Last Name)
16.a.          or Town                                                7.b.    Given Name
                                                                                               Hyeje
                                                                              (First Name)

                                                                      7.c.    MiddleName       Gonde
16.b. State or Province
                                                                      8.      A-Number (if any)

16.c. Country
                                                                                                   >A-
                                                                      9. Date of Birth (mm/dd/yyyy)                   01/05/1997
                                                                      10. Country of Birth
 Part 6. Information About Your Children                                          PHILIPPINES
1.       Indicate the total number of ALL living children
         (including adult sons and daughters) that you have.
                                                                      11. Isthischildapplyingwithyou? fl Yes X                          No

         NOTE:     The term "children" includes all biological or     child   3
         legally adopted children, as well as current stepchildren,
                                                                      Current Legal Name
         of any age, whether born in the United States or other
         countries, married or unmarried, living with you or          12.a. Family Name
                                                                            (Last Name)        SUMAJIT
         elsewhere and includes any missing children and those
         bom to you outside of maniage.                               12.b. Given Name
                                                       4                    (First Name)       Nijah
Provide the following information for each of your children.          12.c. Middle Name        Conde
Ifyou have more than three children, use the space provided in
P    art 14. Additional Information.
                                                                      13.     A-Number (if any)

child l
                                                                                                   >A-
Current Legal Name                                                    14.     Date of Birth (mm/dd/yyyy)              06/021998
2.a.    Family Name
                         SUMAJIT                                      15.     Country of Birth
        (Last Name)
2.b.    Given Name
                                                                                  PHILIPPINES
        (First Name)     Jyroh
                                                                      16.     Is this child applying with    you? ffi     Yes    n      No
2.c.    Middle Name      Conde
3.      A-Number (if any)
                                                                      Part 7. Biographic Information
                             >A-
                                                                      I       Ethnicity (Select only one box)
4.      Date   ofBirth (mm/dd/yyyy)             09/09/1995                    f]   Hispanic or Latino
5.                of Birth
                                                                              fi   Not Hispanic or Latino
         PHILIPPINES                                                  2.      Race (Select   all applicable boxes)
6.      Is this child applying with   you?       f] Ves XNo                   I    wtrite
                                                                              ffiasian
                                                                              I    nlack or African American

                                                                              I    American Indian or Alaska Native

                                                                              I    Native Hawaiian or Other Pacific Islander




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Part 7, Biographic Information (continued)                              Dates of Membership or Dates of Involvement

                                                                        5.a.    From (mm/dd/yyyy)
3.     Height                         Feet   4          Inches 11

                                                                        s.b.    To (mmidd/yyyy)
4.      Weight                                   rounds
                                                          !    9    7
5.     Eye Color (Select only one box)                                  Organization 2

       [] nlack I             nlue           I    Brown                 6.      Name of

       I cray I               creen          I    Hazel

       I Maroon I             nint           flUnknowr/Other            7.a.    City or Town
6.     Hair Color (Select only one box)

       ! nato (No hair) [ nlack              I    Blond                 7.b.    State or Province

       I Brown          f]Gray               !    nea

       flSandy          I wtrite             f]Unknown/other            7.c.



Part 8. General Eligibility and Inadmissibilify                         8.      Nature of Group
Grounds
l.     Have you EVER been a member of, involved in, or in               Dates of Membership or Dates of Involvement
       any way associated with any organization, association,
       fund, foundation, party, club, society, or similar group in      9.a.    From (mm/dd/yyyy)
       the United States or in any other location in the world
       including any military  service? ! Ves X                    No
                                                                        9.b.    To (mm/dd/yyyy)

If you answered "Yes" to ltem Number L., complete Item                  Organization   3
Numbers 2. - 13.b. below. If you need extra space to complete
this section, use the space provided in Part 14. Additional
                                                                        10.     Name   of
Information. If you answered "No," but are unsure ofyour
answer, provide an explanation ofthe events and circumstances
                                                                        11.a. City or Town
in the space provided in Part 14. Additional Information.

Organization I
2.     Name of Organization
                                                                        ll.b.   State orProvince



                                                                        11.c. Country
3.a.   City or Town


3.b.   State or Province
                                                                        12.     Nature of Group



                                                                        Dates of Membership or Dates of Involvement
3.c.   Country
                                                                        13.a. From (mm/dd/yyyy)

4.     Nature   of                                                      13.b. To (mm/dd/yyyy)




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 Part 8. General Eligibility and Inadmissibility                       Criminal Acts and Violations
 Grounds (continued)                                                   For ltem Numbers 25. - 45., you must answer "Yes" to any
                                                                       question that applies to you, even ifyour records were sealed or
Answer Item Numbers 14. - 80.b. Choose the answer that you
                                                                       otherwise cleared, or even ifanyone, including ajudge, law
think is correct. Ifyou answer "Yes" to any questions (or if
                                                                       enforcement ofhcer, or attomey, told you that you no longer
you answer tfNoril but are unsure of your answer), provide
                                                                       have a record. You must also answer "Yes" to the following
an explanation ofthe events and circumstances in the space
                                                                       questions whether the action or offense occurred here in the
provided in Part 14. Additional Information.
                                                                       United States or anywhere else in the world. If you answer
14.      Have you EVER been denied admission to the United             "Yes" to Item Numbers 25. - 45., use the space provided in
         States?                                 f] yes X        No    Part 14. Additional Information to provide an explanation
                                                                       that includes why you were arrested, cited, detained, or charged;
15.      Have you   EVIR    been denied a visa to the United States?   where you were arrested, cited, detained, or charged; when

                                                 Ives nNo              (date) the event occurred; and the outcome or disposition (for
                                                                       example, no charges filed, charges dismissed, jail, probation,
16.      Have you EVER worked in the United States without             community service).
         authorization?                          fiyes nUo             25.   Have you EVER been arrested, cited, charged, or
                                                                             detained for any reason by any law enforcement official
17.      Have you EVER violated the terms or conditions of your
                                                                             (including but not limited to any U.S. immigration
         nonimmigrant   sratus?                  fl Ves X        No          offrcial or any official of the U.S. armed forces or U.S.
18.      Are you presently or have you EVER been in removal,
                                                                             Coast Guard)?                           [     yes  X    No
         exclusion, rescission, or deportation proceedings?
                                                                       26.   Have you EVER committed a crime of any kind (even if
                                                 IYes XNo                    you were not arrested, cited, charged with, or tried for that

19.      Have you EVER been issued a final order of exclusion,
                                                                             crime)?                                 [yes       XNo
         deportation, or removal?                yes
                                                 [          X
                                                            No         27.   Have you EVER pled guilty to or been convicted of a
                                                                             crime or offense (even if the violation was subsequently
20.      Have you EVER had a prior final order of exclusion,
                                                                             expunged or sealed by a court, or ifyou were granted a
         deportation, or removal reinstated?
                                             [ Ves X No                      pardon, amnesty, a rehabilitation decree, or other act of

21.      Have you EVER held lawful permanent resident status
                                                                             clemency)?                              [yes       XNo
         which was later  rescindedt           yes
                                                 a          [t
                                                           No                NOTE: If you were     the beneficiary of a pardon, amnesty,
22. Have you EVER been granted voluntary                                     arehabilitation decree, or other act ofclemency, provide
                                                  departure by an
                                                                             documentation of that post-conviction action.
         immigration officer or an immigration judge but failed to
         deparr within the allotted   time?      [ yes X         No    28.   Have you EVER been ordered punished by ajudge or had
                                                                             conditions imposed on you that restrained your liberty
23.      Have you EVER applied for any kind of relief or                     (such as a prison sentence, suspended sentence, house
         protection from removal, exclusion, or deportation?                 arrest, parole, altemative sentencing, drug or alcohol

                                                 fl   yes   X llo            trsatment, rehabilitative programs or classes, probation, or
                                                                             community   service)?                   [ yes X          Uo
24.a. Have you EVER been a J nonimmigrant exchange visitor
      who was subject to the two-year foreign residence                29.   Have you EVER been a defendant or the accused in a
         requirement?                           [yes        XNo              criminal proceeding (including pre-trial diversion,
                                                                             deferred prosecution, deferred adjudication, or any
If you answered "Yes" to Item Number 24.a., complete ltem                    withhetd   adjudication)?               ! yes X          No
Numbers 24.b. - 24.c. If you answered "No" to Item Number
24.a., skip to Item Number 25.                                         30.   Have you EVER violated (or attempted or conspired to
                                                                             violate) any controlled substance law or regulation ofa
24.b. Have you complied with the foreign residence
                                                                             state, the United States, or a foreign country?
       requirement?                             [Ves nNo                                                             IYes XNo
24.c. Have you been granted      waiver or has Department of
                                  a
       State issued a favorable waiver recommendation letter
       foryou?                                  [yes        nNo

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 Part 8. General Eligibility and Inadmissibility
                                                                         42.     Have you EVER trafficked a person into involuntary
                                                                                 servitude, peonage, debt bondage, or slavery? Trafficking
 Grounds (continued)                                                             includes recruiting, harboring, transporting, providing, or
                                                                                 obtaining a person for labor or services through the use of
31.     Have you EVER been convicted of two or more offenses
                                                                                                 coercion.
        (other than purely political offenses) for which the
                                                                                 force, fraud, or
                                                                                                                         I    yes   X   No
        combined sentences to confinement were five years or
        more?                                                            43.     Have you EVER knowingly aided, abetted, assisted,
                                                [Yes XNo                         conspired, or colluded with others in trafficking persons
                                                                                 for commercial sex acts or involuntary servitude,
32.     Have you EVER illicitly (illegally) trafficked or benefited
                                                                                 peonage,debtbondage,orslavery?
        from the trafficking ofany controlled substances, such as                                                        f] Ves X        No
        chemicals, illegal drugs, or narcotics?
                                                !    yes    X     No     44. Are you the spouse, son or daughter ofa foreign national
                                                                                 who engaged in the trafficking ofpersons and have
33.     Have you EVER knowingly aided, abetted, assisted,
                                                                                 received or obtained, within the last five years, any
        conspired, or colluded in the illicit trafficking ofany
                                                                                 financial or other benefits from the illicit activity ofyour
        illegal narcotic or other controlled substances?
                                                                                 spouse or your parent, although you knew or reasonably
                                                IYes XNo                         should have known that this benefit resulted from the illicit
                                                                                 activity of your spouse or parent?             yes
34.    Are you the spouse, son, or daughter ofa foreign national                                                         !          X    No
       who illicitly trafficked or aided (or otherwise abetted,
       assisted, conspired, or colluded) in the illicit trafficking of
                                                                         45. Have you EVER          engaged in money laundering or have
                                                                                 you EVER knowingly aided, assisted, conspired, or
       a controlled substance, such as chemicals, illegal drugs, or
                                                                                 colluded with others in money laundering or do you seek
       narcotics and you obtained, within the last five years, any
                                                                                 to enter the United States to engage in such activity?
       frnancial or other beneht from the illegal activity ofyour
       spouse or parent, although you knew or reasonably should                                                          fl   Yes   X    No
       have known that the financial or other benefit resulted
       from the illicit activity ofyour spouse or parent?
                                                                         Securig and Reloted
                                                !Yes XNo                 Do you intend to:
35. Have you EVER engaged in prostitution or are you
       coming to the United States to engage in prostitution?
                                                                         {f.x.   Engage in any activity that violates or evades any law
                                                                                 relating to espionage (including spying) or sabotage in the
                                                fl   ves   X No                  United   Srates?                        ! Ves X         No
36.    Have you EVER directly or indirectly procured (or
                                                                         46.b. Engage in any activity in the United States that violates or
       attempted to procure) or imported prostitutes or persons
                                                                               evades any law prohibiting the export from the United
       for the purpose of   prostitution?
                                                ! Ves X           No           States of goods, technology, or sensitive information?

37.    Have you EVER received any proceeds or money from                                                                 ! Yes X         t'{o
       prostirution?                            [yes       XNo           46.c. Engage in any activity whose purpose includes opposing,
                                                                                 controlling, or ovefihrowing the U.S. Govemment by
38. Do you intend to engage in illegal gambling or any other                     force, violence, or other unlawful means while in the
       form of commercialized vice, such as prostitution,
                                                                                 United States?
       bootlegging, or the sale of child pornography, while in the                                                       f] Ves K        No
       United States?
                                                f] Ves X          No     46.d. Engage in any activity that could endanger the welfare,
                                                                               safety, or security ofthe United States?
39.    Have you EVER exercised immunity (diplomatic or
       otherwise) to avoid being prosecuted for a criminal                                                               fl   ves   X    No
       offense in the United States?
                                                ! Ves X           No
                                                                         46.e. Engage in any other unlawful activity?    f] Yes X        No
40.    Have you EVER, while serving as a foreign government
                                                                         47.     Are you engaged in or, upon your entry into the United
       official, been responsible for or directly carried out
                                                                                 States, do you intend to enlage in any activity that could
       violations of religious   freedoms?
                                                ! Ves X           No             have potentially serious adverse foreign policy
                                                                                 consequences for the United States?
41.    Have you EVER induced by force, fraud, or coercion (or                                                            f]  Ves    X   No
       otherwise been involved in) the trafficking of persons for
       commercial sex   acts?                   f] ves X          No


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                                                                                    A-Number     ) A-

                                                                       51.d. Provided money, a thing of value, services or labor, or
 Part 8. General Eligibility and Inadmissibility
                                                                             any other assistance or support for any ofthe activities
 Grounds (continued)                                                         described in ltem Number 51.a.?             yes
                                                                                                                      fl         X  No
Have you EVER:
                                                                       51.e. Provided money, a thing ofvalue, services or labor, or
48.a. Committed, threatened to commit, attempted to commit,                  any other assistance or support to an individual, group, or
      conspired to commit, incited, endorsed, advocated,                     organization who did any of the activities described in
      planned, or prepared any ofthe following: hijacking,                   Item Number     51.a.?                   [ Ves X          No
      sabotage, kidnapping, political assassination, or use of a
      weapon or explosive to harm another individual or cause          51.f. Received any type of military, paramilitary, or weapons
      substantial damage to property?              Ves                       training from a group or organization that did any ofthe
                                                   [          X
                                                             No
                                                                             activities described in Item Number 51.a.?
48.b. Participated in, or been a member of; a group or
      organization that did any ofthe activities described in
                                                                                                                      !ves XNo
       Item Number        48.a.?                   fl yes X       No   NOTE: If you answered "Yes" to any part of Item Number
                                                                       51., explain the relationship and what occurred, including the
48.c. Recruited members or asked for money or things of value          dates and location ofthe circumstances, in the space provided
      for a group or organization that did any ofthe activities        in Part 14. Additional Information.
      desoibed in ltem Number 48.a.?              Ves
                                                   [          X
                                                              No       52.   Have you EVER assisted or participated in selling,
                                                                             providing, or transporting weapons to any person who,
48.d. Provided money, a thing ofvalue, services or labor, or
                                                                             to your knowledge, used them against another person?
      any other assistance or support for any ofthe activities
      described in Item Number 48.a.?             Ves
                                                   !          X
                                                             No                                                       fl   ves   X No
48.e. Provided money, a thing ofvalue, services or labor, or
                                                                       53.   Have you EVER worked, volunteered, or otherwise
                                                                             served in any prison, jail, prison camp, detention facility,
      any other assistance or support for an individual, group,
                                                                             labor camp, or any other situation that involved detaining
      or organization who did any ofthe activities described in
       Item Number        48.a.?                                             persons?                                 [yes       XNo
                                                   [ Ves X        No

49.    Have you EVER received any type of military,
                                                                       54.   Have you EVER been a member oi assisted, or
                                                                             participated in any group, unit, or organization ofany
       paramilitary, or weapons training?
                                               Ves [          X   No         kind in which you or other persons used any fype of
                                                                             weapon against any person or threatened to do so?
50.    Do you intend to engage in any of the activities listed in
       any parr of Item Numberc 48.a. - 49,?        yes
                                                   f]         X No                                                    IYes XNo
NOTE: If you     answered "Yes" to any part of ltem Numbers
                                                                       55.   Have you EVER served in, been a member of, assisted,
                                                                             or participated in any military unit, paramilitary unit,
46.a. - 50., explain what you did, including the dates and
                                                                             police unit, self-defense unit, vigilante unit, rebel group,
location of the circumstances, or what you intend to do in the
                                                                             guerilla group, militia, insurgent organization, or any
space provided in   Part      14.   Additional Information.
                                                                             other armed  group?                      !     ves  X     No
Are you'the spouse or child of an individual who EVER:

51.a. Committed, threatened to commit, attempted to commit,
                                                                       56.   Have you EVER been a member of, or in any way
                                                                             affiliated with, the Communist Party or any other
      conspired to commit, incited, endorsed, advocated,
                                                                             totalitarian party (in the United States or abroad)?
      planned, or prepared any of the following: hijacking,
      sabotage, kidnapping, political assassination, or use ofa                                                       IYes XNo
      weapon or explosive to harm another individual or cause
      substantial damage to properry?
                                                                       57.   During the period from March 23, 1933 to May 8, 1945,
                                                  yes
                                                   f]         X
                                                             No              did you ever order, incite, assist, or otherwise participate
                                                                             in the persecution ofany person because ofrace, religion,
51.b. Participated in, or been a member or a representative of a
                                                                             national origin, or political opinion, in association with
      group or organization that did any ofthe activities
                                                                             either the Nazi govemment of Germany or any
      described in Item Number 51.a.?             yes
                                                   [        NoX              organization or government associated or allied with the
                                                                             Nazi government of Germany?                   yes
51.c. Recruited members, or asked for money or things of value,                                                       f]         X    No
      for a group or organization that did any ofthe activities
      described in Item Number 51.a.?             yes
                                                   !          X
                                                              No


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                                                                        63.c. If your answer to Item Number 63.b. is "Yes," attach a
 Part 8. General Eligibilify and Inadmissibility
                                                                              written statement explaining why you had reasonable cause.
 Grounds (continued)
                                                                        64.   Have you EVER submitted fraudulent or counterfeit
Have you EVER ordered, incited, called for, committed, assisted,              documentation to any U.S. Govemment official to obtain
helped with, or otherwise participated in any ofthe following:                or attempt to obtain any immigration benefit, including a
                                                                              visa or entry into the United States?
                                                                                                                      !  yes     X  No
58.a. Acts involving torture or genocide?        [ Ves X         No
                                                                        65. Have you EVER lied about, concealed, or misrepresented
58.b. Killing any    person?                     [    Ves   X    No           any information on an application or petition to obtain a
                                                                              visa, other documentation required for entry into the
58.c. Intentionally and severely injuring any person?
                                                                              United States, admission to the United States, or any other
                                                 !ves XNo                     kind of immigration benefit?
                                                                                                                      !   Ves    X   No
58.d. Engaging in any kind of sexual contact or relations with
        any person who did not consent or was unable to consent,
                                                                        66.   Have you EVER falsely claimed to be aU.S. citizen (in
        or was being forced or threatened?       yes                          writing or any other way)?             Ves
                                                                                                                      f]         E
                                                                                                                                No
                                                 [          X    No

58.e. Limiting or denying any person's ability to exercise
                                                                        67.   Have you EVER been a stowaway on a vessel or aircraft

        religious   beliefs?                                                  aniving in the united  States?        yes
                                                                                                                      !        Nox
                                                 ! Ves X         No

59. Have you EVER recruited, enlisted, conscripted, or used             68.   Have you EVER knowingly encouraged, induced, assisted,
                                                                              abetted, or aided any foreign national to enter or to try to
        any person under I 5 years of age to serve in or help an
                                                                              enter the United States illegally (alien smuggling)?
        armed force or group?                    [ Ves X         No
                                                                                                                      Ives XNo
60.    Have you EVER used any person under 15 years ofage
                                                                        69.   Are you under a final order ofcivil penalty for violating
       to take part in hostilities, or to help or provide services to
                                                                              INA section 274C for use offraudulent documents?
       people in    combat?                      [     yes  X    No
                                                                                                                      fl   Yes   X      No
NOTE: If you answered "Yes" to any part of ltem Numbers
52. - 60., explain what occurred, including the dates and               Removal, Unlawful Presence, or IIIegal Reentry
location of the circumstances, in the space provided in Part 14.
                                                                        Afte r P rev io us I mmig ratio n Vio I at io ns
Additional Information.
                                                                        70.   Have you EVER been excluded, deported, or removed
Public Assistance                                                             from the United States or have you ever departed the
                                                                              United States on your own after having been ordered
61.    Have you received public assistance in the United States               excluded, deported, or removed from the United States?
       from any source, including the U.S. Govemment or any
       state, county, city, or municipality (other than emergency                                                     IYes XNo
       medical   treatment)?                     ! Ves X         No     71.   Have you EVER entered the United States without being
                                                                              inspected and admitted or paroled?      yes
62.    Are you likely to receive public assistance in the future in
                                                                                                                      [          X
                                                                                                                                No

       the United States from any source, including the U.S.            Since April 1,1997, have you been unlawfully present in the
       Govemment or any stats, county, city, or municipality            United States:
       (other than emergency medical treatment)?
                                                                        72.a. For more than 180 days but less than   a year, and then
                                                 !ves XNo                     departed the united states?
                                                                                                                      [ yes n           No

Illegal Entries and Other Immigration Violations                        72.b. For one year or more and then departed the United States?

63.a. Have you EVER failed or refused to attend or to remain                                                          []Yes nNo
      in attendance at any removal proceeding filed against you         NOTE: You were unlawfully present in the United States if
       onorafterAprill,l99T?                     [VesXNo                you entered the United States without being inspected and
                                                                        admitted or inspected and paroled, or if you legally entered the
63.b. If your answer to Item Number 63.a. is "Yes," do you              United States but you stayed longer than permitted.
                                    cause?
                                                [ yes !
       believeyouhadreasonable
                                                                No



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                                                                                    A-Number    )   A-


 Part 8. General Eligibility and Inadmissibility                     80.a. Have you EVER left or remained outside the United
                                                                           States to avoid or evade training or service in the U.S.
 Grounds (continued)
                                                                           armed forces in time of war or a period declared by the
Since April 1,1997, have you EVER reentered or attempted to                President to be a national emergency?        Ves
reenter the United States without being inspected and admitted
                                                                                                                     [            XNo

or paroled after:                                                    80.b. If your answer to Item Number 80.a. is "Yes," what was
                                                                           your nationality or immigration status immediately before
73.a. Having been unlawfully present in the United States for
                                                                           you left (for example, U.S. citizen or national, lawful
      more than one year in the aggregate?
                                              [ yes      X No              permanent resident, nonimmigrant, parolee, present
                                                                           without admission or          or     other
73.b. Having been deported, excludedo or removed from the
      United States?                           yes
                                              [          X
                                                         No


Mkcellaneous Conduct                                                 Part 9. Accommodations for Individuals With
74.    Do you plan to practice polygamy in the United States?        Disabilities and/or Impairments
                                              !Yes XNo               NOTE: Read the information in the Form I-485 Instructions
                                                                     before completing this part.
75.    Are you accompanying another foreign national who
       requires your protection or guardianship but who is           1.     Are you requesting an accommodation because of your
       inadmissible after being certified by a medical officer as           disabilities and/or impairments?        Ves
       being helpless from sickness, physical or mental
                                                                                                                     [       No   X
       disability, or infancy, as described in INA section 232(c)?          If you answered "Yes" to ltem Number         1., select any

                                              Ives XNo                      applicable box in Item Numbers 2.a. - 2.c. and provide
                                                                            an answer.
76.    Have you EVER assisted in detaining, retaining, or
       withholding custody of a U.S. citizen child outside the
                                                                     2.a.   f]   I am deafor hard ofhearing   and request the
                                                                                 following accommodation. (If you are requesting a
       United States from a U.S. citizen who has been granted
                                                                                 si gn-language interpreter, indicate for which
       custody ofthe  child?                  ! Ves X        No                  language (for example, American Sign Language).):

77.    Have you EVER voted in violation of any Federal, state,
       or local constitutional provision, statute, ordinance, or
       regulation in the United States? [            Ves X     No
                                                                     2.b.   I    I am blind or have low vision   and request the
78.    Have you EVER renounced U.S. citizenship to avoid                         following accommodation:
       being taxed by the United States?      Ves
                                              [          X
                                                         No

Have you EVER:

79.a. Applied for exemption or discharge from training or            2.c. I      I have another type of disability and/or impairment.
      service in the U.S. armed forces or in the U.S. National                   (Describe the nature of your disability and/or
      Security Training Corps on the ground that you are a                       impairment and the accommodation you are
      foreign national?                           Ves                            requesting.)
                                              !          X  No

79.b. Been relieved or discharged from such training or service
      on the ground that you are a foreign national?

                                              !ves XNo
79.c. Been convicted of deserlion from the U.S. armed forces?
                                              IYes XNo




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                                                                                         A-Number )> A-


                                                                      I furthermore authorize   release of information contained in this
    Part 10. Applicantfs Statemen! Contact                            application, in supporting documents, and in my USCIS
    In formation, Declaration, Certification, and                     records, to other entities and persons where necessary for the
    Signature                                                         administration and enforcement of U.S. immigration law.
                                                                      I understand that USCIS may require me to appear for an
NOTE:        Read the Penalties section of the Form I-485
                                                                      appointment to take my biometrics (fingerprints, photograph,
Instructions before completing this part. You must file Form
                                                                      and/or signature) and, at that time, ifl am required to provide
I-485 while in the United States.
                                                                      biometrics, I will be required to sign an oath reafhrming that:
Applicant's Statement                                                 1)     I reviewed and understood all of the information
                                                                             contained in, and submitted with, my application; and
NOTE:     Select the box for either Item Number 1.a. or 1.b.    If
applicable, select the box for ltem Number 2.                         2)     All of this information      was complete, true, and correct at
                                                                             the time    of filing.
1.a.    fi    I can read and understand English, and I have read
              and understand every question and instruction on this   I certiff, under penalty of perjury, that all of the information in
              application and my answer to every question.            my application and any document submitted with it were
                                                                      provided or authorized by me, that I reviewed and understand
1.b.    I     The interpreter named in Part 11. read to me every
              question and instruction on this application and my
                                                                      all of the information contained in, and submitted with, my
                                                                      application and that all of this information is complete, true,
              answer to every           m
                                                                      and correct.

              a            in which I am fluent,
                                                                      Applicantts Signature
              everything
t             At    request, the preparer named in Part 12.,          6.a.                                    1n


                  All-en E       Kaye                                 r)
                                       for me based only upon         6.b.   Date   of                (mm/dd/vyyv)          {t     c4
                                                                                                                                        lP.,
              information I provided or authorized.
                                                                      NOTE TO AI\L APPLICANTS: If you do not completely fill
App licant's Co ntact I nformatio n                                   out this application or fail to submit required documents listed
                                                                      in the Inskuctions, USCIS may deny your application.
3.                                         Number

                                                                      Part ll. Interpreterfs Contact Information.,
4.                   Mobile Telephone Number (if any)                 Certification, and Signafu re
                  (917) 86s-3s2s
                                                                      Provide the following information about the interpreter
5.                   Email Address
                   melthie00BGqmail.                com               Inlerpreter's Full Name
                                                                      1.a.                             Name          Name
Applicant's Declarstion and Certification
Copies of any documents I have submitted are exact photocopies
                                                                      1.b.                   Given Name            Name
of unaltered, original documents, and I understand that USCIS
may require that I submit original documents to USCIS at a later
date. Furthermore, I authorize the release of any information
from any and all of my records that USCIS may need to
                                                                      ,                      Business or                    Name
determine my eligibility for the immigration benefit that I seek.

I understand that if I am a male who is 18 to 26 years of age,
submitting this application will automatically register me with
the Selective Service System as required by the Military
Selective Service Act.




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                                                                                    A-Number )> A-


 Part ll, Interpreter's Contact Infiormation,                        Part I2. Contact Information, Declaration, and
 Certification, and Signature (continued)                            Signature of the Person Preparing this
                                                                     Application, if Other Than the Applicant
I nterpreter's Mailing Address
                                                                     Provide the following information about the preparer,
3.a.    Street Number
        and Name
                                                                     Preparer's Full Name
3.b.napt.Iste.[fu
                                                                     1.a.              S            Name        Name
3.c.    City or Town
                                                                            KAYE
3.d.    State            3.e.   ZIP Code                             1.b.                  Given Name

3.f.   Province                                                              Allen
                                                                     2.                    Business or                 Name
3.g.   Postal Code
                                                                             Pollack Pollack lsaac and DeOicco LLP
3.h.
                                                                     Preparerts Ma iling Address
                                                                     3.a.   Street Number
                                                                                                 225 Broadway
I nte rprete    r's Contacl Information                                     and Name

4.                              Tel            Number                3.b.   n   apt.       fl   ste.   [   fu     3

                                                                     3.c.   City or Town         New York
5.     Interpreter's Mobile Telephone Number (if any)
                                                                     3.d.   State   NY          3.e. ZIP Code 10007

6.                    Email Address                                  3.f.   Province

                                                                     3.g.   Postal Code

I nte rprete r Is Ce rtificatio n                                    3.h.

I certifi, under penalty ot
                                                                             USA
                              'su
                                    ul,   that:

I am fluent in English and                                           Prep ur er's C o ntact Info r mation
which is the same language              ln
1.b., and I have read to this applicant in the identified language   4.                              T           Number
every question and instruction on this application and his or her
                                                                            (212) 233-8100
answer to every question. The applicant informed me that he or
she understands every instruction, question, and answer on the       5.                    Mobile               Number
application, including the Applicantrs Declaration and
Certification, and has verified the accuracy ofevery answer.
                                                                     6.                s   Email Address
I nterpreter's S ignatare                                                   aek@ppid.com
7.a.              s                       ln



7.b.   Date of Signature (mm/dd/yyyy)




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                                                                               A-Number    )    A-


 Part 12. Contact Information, Declaration, and                    NOTE:    Do not complete Part 13. until the USCIS Officer
 Signature of the Person Preparing this                            instructs you to do so at the interview.
 Application, if Other Than the Applicant
 (continued)                                                       Part 13. Signature at Interview

 Preparer's Statement                                             I swear (affirm) and certif under penalty of perjury under the
                                                                  laws of the United States of America that I know that the
7.a.   !    I am not   an attorney or accredited representative   contents ofthis Form I-485, Application to Register Permanent
            but have prepared this application on behalfof        Residence or Adjust Status, subscribed by me,             the
            the applicant and with the applicant's consent.
                                                                  corrections made to this application, numbered
7.b. El     I am an attorney or accredited representative and     through           , are complete, true, and correct.   All
            my representation of the applicant in this case
                                                                  additional pages submitted by me with this Form I-485, on
            fi extends I does not extend beyond the
            preparation of this application.
                                                                  numbered pages               through            are complete,
            NOTE: If you are     an attomey or accredited
                                                                  true, and correct. All documents submitted at this interview
           representative, you may be obliged to submit a
                                                                  were provided by me and are complete, true, and correct.
           completed Form G-28, Notice of Entry of
           Appearance as Attomey or Accredited                    Subscribed to and swom to (affirmed) before me
           Representative, with this application.
                                                                  USCIS Officer's Printed Name or

Prep are r's C ertiJic otio n

By my signature, I certifr, under penalty of perjury, that I      Date of Signature (mmidd/yyyy)
prepared this application at the request of the applicant. The
                                                                                               tn
applicant then reviewed this completed application and
informed me that he or she understands all of the information
contained in, and submitted with, his or her application,
                                                                  USCIS Officer's                    ln
including the Applicant's Declaration and Certification, and
that all of this information is complete, true, and correct. I
completed this application based only on information that the
applicant provided to me or authorized me to obtain or use.


Prepnrer's Signature
8.a.   Preparer's                  ln


8.b.   Date of Signature
                                                 [t-tt - t/




Forml-485 l2/l3ll7 N                                                                                                     Page   17of18
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                                                                                A-Number )> A-


  Part 14. Additional Information                                  5.a.   P   Number 5.b.    Part   Number 5.c.   Item Number

 Ifyou  need extra space to provide any additional information
                                                                                             I                    15
 within this application, use the space below. If you need more    5.d.
 space than what is provided, you may make copies of this page            Applicant provided accurate information
 to complete and file with this application or attach a separate          in her application for a visitor visa in
 sheet of paper. Type or print your name and A-Number (if any)            2001 but it was denied.
 at the top of each sheet; indicate the Page Number, Part
 Numbern and ltem Number to which your answer refers; and
 sign and date each sheet.

 l.a.   Family Name
                    SUMAJIT
        (Last Name)
 1.b.   Given Name
        (First Name)   Melthie
 1.c. Middle Name Conde                                            6.a.       Number 6.b.    Part   Number 6.c.   Item Number

2.      A-Number(ifany)      )A-                                          10&13              I                    16,72.a     &b
                                                                   6.d.
3.a.         Number 3.b.      Part   Number 3.c.   Item Number            I arrived In the US in January of 2005 on a 82
                                                                          1O-year multiple entry visa and stayed at a
                              3                    5.a                    friend's house in Queens untilApril2007. lwas
3.d.                                                                      born with scoliosis and learned that the US has
        Physical Address 3:                                               the best treatment options for this incurable
                                                                          disease. I researched the best doctors and
        31-08 28th Avenue, 1st Floor                                      treatment options during that time and
                                                                          supported myself through work as a part time
        Astoria, NY 11102                                                 nanny during both years. I returned with my
                                                                          husband on a 82 visa to the US in 2011 and am
        From: O5l28nO12                                                   currently being treated for Scoliosis at Hudson
                                                                          Valley Scoliosis Gorrectlon Center in New York.
        To: O1lOGl2014
                                                                   7.a.       Number 7.b. PartNumber 7.c. ItemNumber


                                                                   7.d.


4.a.        Number 4.b.       Part   Number 4.c.   Item Number
                              6                    2.a
4.d.
        chitd 4:

        Family Name: SUMAJIT

        Given Name: Jesah

        Middle Name: Conde

        Date of Birth: Ogl14l20OO

       Country of Birth: PHILIPPINES

       ls this child applying with you? YES

Forml-485 12/13117 N                                                                                              Page   l8   ofl8
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                                                Notice of Entry of Appearance                                                    DHS
                                          as Attorney or Accredited Representative                                           Form G-28
                                                                                                                           OMB No. 1615-0105
                                                     Department of Homeland Security                                       Expires 0513112021



 Part 1. Information About Aftorney or                                 Part2, Eligibili$ lnformation for Attorney or
 Accredited Representative                                             Accredited Representative
l.      USCIS Online Account Number (if any)                          Select   all applicable items.
                                                                      1.a.     E I*       an attorney eligible to practice law in, and a
                                                                                     member in good standing of, the bar ofthe highest
 Name of Attorney or Acuedited Representative                                        courts of the following states, possessions, territories,
                                                                                     commonwealths, or the District of Columbia. If you
2.a.   Family Name
                                                                                 '   need extra space to complete this section, use the
       (Last Name)        KAYE
                                                                                     space provided in Part 6. Additional Information.
2.b.    GivenName
        (FirstName)       Allen                                                      Licensing Authority

2.c.   MiddleName                                                                     1307222
                          E
                                                                      1.b.     Bar Number (if applicable)
Address of Attorney or Acuedited Representative                                New York Supreme Court
3.a.   Street Number                                                  1.c. I (select only one box) [J      am not      I am
       and Name            225 Broadway
                                                                               subject to any order suspending, enjoining, restraining,
3.b.   !Apt. !ste. ffirt                     3                                 disbarring, or otherwise restricting me in the practice of
                                                                               law. Ifyou are subjectto any orders, usethe space
3.c.   City or Town                                                            provided in Part 6. Additional Information to provide
                          New York
                                                                               an explanation.
3.d.   State    NY        3.e.    ZIP Code       10007                1.d. Name of Law Firm          or Organization (if applicable)

3.f.   Province                                                                Pollack Pollack lsaac and DeCicco LLP
                                                                      2.a. fl t am an accredited representative         of the following
3.g.   Postal Code                                                                   qualified nonprofit religious, charitable, social
3.h.   Country                                                                       service, or similar organization established in the
                                                                                     United States and recognized by the Department of
        USA                                                                          Justice in accordance with 8 CFR part 1292.
                                                                      2.b.     Name
Contact Information of Attorney or Accredited
Representotive
4.     Daytime                   Number
                                                                      2.c.     Date of Accreditation (mm/dd/yyyy)

        2122338100
5.     Mobile                 Number (if any)                         3. fl          t am associated with


                                                                                     the attomey or accredited representative ofrecord
6.     Email Address          any)                                                   who previously filed Form G-28 in this case, and my
        aek@ppid.com                                                                 appearancs as an attorney or accredited representative
                                                                                     for a limited purpose is at his or her request.
7.     Fax Number         any)
                                                                      4.a. I         t am a law student or law graduate working under the
        2122339238                                                                   direct supervision ofthe attorney or accredited
                                                                                     representative ofrecord on this form in accordance
                                                                                     with the requirements in 8 CFR 292.1(a)(2).
                                                                      4.b.   Name of Law Student or Law Graduate




Form   G-28    05123/18                                                                                                             Page   I of4
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 Part 3, Notice of Appearance as Attorney or                            Client's Contnct Information
 Accredited Represen tative
                                                                    10.     Daytime Telephone Number
Ifyou  need extra space to complete this section, use the space
provided in Part 6. Additional Information.
                                                                    11.     Mobile TelephoneNumber (if any)
This appearance relates to immigration matters before
(select only one box):                                                       (917) 865-3525
 l.a. X U.S.Citizenship and Immigration Services (USCIS)            12.     Email Address
 l.b. List the form numbers or specific matter in which                      melthie008@gmail.com
                     is entered.

        l-765                                                       Mailing Address of Client
2.a. I U.S. Immigration and Customs Enforcement (ICE)               NOTE: Provide the client's mailing address. Do not provide
                                                                    the business mailing address of the attomey or accredited
2.b. List the     matter in which appearance is entered.
                                                                    representative unless it serves as the safe mailing address on the
                                                                    application or petition being filed with this Form G-28.

3.a. f] U.S. Customs and Border Protection (CBP)                    13.a. Street Number
                                                                                            10 Winding Lane
                                                                            and Name
3.b. List the specific matter in which appearance is entered.
                                                                    13.b.IApt.         ISte. Ir't.
4.     Receipt Number (if any)                                      13.c. City or Town      Greenwhich
                                                                    13.d. State   CT        13.e. ZIP Code 06831
5.     I enter my appearance as an attorney or accredited
       representative at the request ofthe (select only one box):   13.f. Province
       ffi Applicant I Petitioner I Requestor                       13.g. Postal Code
       I Beneficiary/Derivative ! Respondent (CE, CBP)
                                                                    13.h.
I nfo r mat io n A bo ut C I ie nt (App lic a nt, P et itio n er,           USA
Req uesto r, B en eJic iary or D e r iv ativ e, Re sp o n d e nt,
or Autltorized Signatoryfor an Entity)
                                                                    Part 4, Clientfs Consent to Representation and
6.a.   Family Name
                         SUMAJIT
       (Last Name)
6.b.   Given Name
                         Melthie
                                                                    Consenl lo Representation and Release             of
       (First Name)                                                 Information
6.c.   MiddleName        Conde                                      I have requested the representation of and consented to being
7.a.   Name    of        (ifapplicable)                             represented by the attomey or accredited representative named
                                                                    in Part 1. of this form. According to the Privacy Act of 1974
                                                                    and U.S. Department of Homeland Security (DHS) policy, I
7.b.   Title of Authorized Signatory for                            also consent to the disclosure to the named attomey or
                                                                    accredited representative ofany records pertaining to me that
                                                                    appear in any system of records of USCIS, ICE, or CBP.
8.     Client's USCIS Online Account Number           any)


9.     Client's Alien Registration Number (A-Number)     (if
                            >A-




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 Part 4. Client's Consent to Representation and                         Part 5. Signature of Attorney or Accredited
 Signature (continued)                                                  Representative
 Optiorts Regnrding Receipt            of aSCIS      Notices and        I have read and understand the regulations and conditions
 Documents                                                              contained in 8 CFR 103.2 and 292 govemingappearances and
                                                                        representation before DHS. I declare under penalty of perjury
USCIS will send notices to both a represented parfy (the client)        under the laws of the United States that the information I have
and his, her, or its attomey or accredited representative either        provided on this form is true and correct.
through mail or electronic delivery. USCIS will send all secure
                                                                        1.   a.   Signature of Attomey or Accredited Representative
identity documents and Travel Documents to the client's U.S.
mailing address.
Ifyou want to have notices and/or secure identity documents             l.b.
sent to your attorney or accredited representative ofrecord rather
                                                                                  Date of Signature (mm/dd/yyyy)       )r^iL,.-lv
than to you, please select all applicable items below. You may          2.a.               oflaw   Student or Law Graduate
change these elections through written notice to USCIS.

l.a. ffi      I request that USCIS send original notices on an
              application or petition to the business address of my     2.b.      Date of Signature (mm/dd/yyyy)
              attorney or accredited representative as listed in this
              form.
l.b. !        I request that USCIS send any secure identity
              document (Permanent Resident Card, Employment
              Authorization Document, or Travel Document) that I
              receive to the U.S. business address of my attomey or
              accredited representative (or to a designated military
              or diplomatic address in a foreign country (if
              permitted)).
              NOTE: If your notice contains Form I-94,
              Arrival-Departure Record, USCIS will send the
              notice to the U.S. business address ofyour attorney
              or accredited representative. Ifyou would rather
              have your Form I-94 sent directly to you, select
              Item Number l.c.

l.c. fl       I request that USCIS send my notice containing Form
              I-94 to me at my U.S. mailing address.

Signature of Client or Authoriz,ed Signatoryfor an
Entity
2.a.                         orA                        for an Entity
r)
2.b.   Date                 (mm/dd/yyyy)         lt q         rs




Form   G-28 09/17ll8                                                                                                            Page 3   of4
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 Part 6, Additional Information                                  4,a. PageNumber 4.b. PartNumber 4.c.             ItemNumber

Ifyou   need extra space to provide any additional information
within this form, use the space below. If you need more space    4.d.
than what is provided, you may make copies of this page to
complete and file with this form or attach a separate sheet of
paper. Type or print your name at the top ofeach sheet;
indicate the Page Number, Part Number, and ltem Number
to which your answer refers; and sign and date each sheet.
l.a     Family Name
        (Last Name)
1..b. Given Name
        (First Name)

1.c.    Middle Name

2.a.          Number 2.b. PartNumber 2.c. ItemNumber


2.d.
                                                                 5.a.          Number 5.b.   Part   Number 5.c.   Item Number



                                                                 5.d.




3.a.          Number 3.b.    Part   Number 3.c.    Item Number



3.d.                                                             6.a.   Page   Number 6.b.   Part   Number 6.c.   Item Number



                                                                 6.d.




Form   G-28   09117/18                                                                                              Page 4   of 4
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                                 Application For Employment Authorization                                                      USCIS
                                                                                                                             Form I-765
                                                   Department of Homeland Security                                      OMB No. 1615-0040
                                                 U.S. Citizenship and Immigration Services                              Expires 05/3 l/2020



              I   Authorization/Extension                     Fee Stamp                                       Action Block
                  Velid tr'rom



  F'or        !   AuthorizationlExtension
                  Valid Through
 USCIS
   Use
  Only
              Alien Registration Number

              Remarks




  To be completed by an attorney or                      []   Select this box   if Form G-28      Attorney or Accredited Representative
 Board of Immigration Appeals (BIA)-                          is attached.                        USCIS Online Account Number

   accredited representative (if any).

 >     START HERE - Type or print in black ink.

Part     l.   Reason for Applying                                           Other Names Used
I am applying for       (select only one box):                             Provide all other names you have ever used, including aliases,
                                                                           maiden name, and nicknames. If you need extra space to
l.a. [l       lnitiat permission to accept employment.
                                                                           complete this section, use the space provided in Part 6.
1.b. I        Replacement of lost, stolen, or damaged employment           Additional Information.
              authorization document, or correction of my
                                                                           2.a.    Family Name
                                                                                                    CONDE
              employment authorization document NOT DUE to                         (Last Name)
              U.S. Citizenship and Immigration Services (USCIS)
                                                                           2.b.    Given Name
                                                                                                    Melthie
              eror.                                                                (First Name)
              NOTE:     Replacement (correction) of an employment          2.c.    Middle Name      Osic
              authorization document due to USCIS error does not
              require a new Form l-765 and filing fee. Refer to
                                                                           3.a.    Family Name
              Replacement for Card Error in the What is the                        (Last Name)
              Filing Fee section ofthe Form I-765 Instructions for
                                                                           3.b.    Given Name
              further details.                                                     (First Name)
1.c. !        Renewal of my permission to accept employment.               3.c.    Middle Name
              (Attach a copy of your previous employment
              authorization document.)
                                                                           4.a.    Family Name
                                                                                   (Last Name)

Part 2. Information About You                                              4.b.    GivenName
                                                                                   (FirstName)

Your     Full Legal Nnme                                                   4.c.    Middle Name

l.a.   Family Name
                   SUMAJIT
       (Last Name)
l.b.   Given Name
                           Melthie
       (First Name)

1.c. Middle Name Conde




FormI-765 05/31/18                                                                                                                Page   I of7
                                                                    380038-K
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Yart2. Information About You              (continued)              13.b. Provide your Social            number



 Your I/.S. Mailing Address                                        14. Do you want the SSA to issue you a Social     Security card?
                                                                         (You must also answer "Yes" to Item Number 15.,
5.a.   In Care OfName
                                                                         Consent for Disclosure, to receive a card.)
                                                                                                                     [Yes ENo
5.b.   Street Number
                        10 Winding Lane                                  NOTE: If you answered'No" to ltem Number 14., skip
       and Name
                                                                         to Part 2., Item Number 18.a. If you answered "Yes" to
5.c.   napt. [ste. nFk.                                                  Item Number 14., you must also answer'oYss" to Item
                                                                         Number 15.
5.d. City or Town       Greenwich
                                                                   15.   Consent for Disclosure: I authorize disclosure of
5.e.                    5.f.   ZIP Code 06831                            information from this application to the SSA as required
       State   CT
                                                                         for the purpose of assigning me an SSN and issuing me a
                                                                         Social Security card.                      Ves
6.     Is your current mailing address the same as your physical
                                                                                                                     [t          nNo
       address?                                                          NOTE: If you   answered "Yes" to Item Numbers
                                                  [JYes f]No               - 15., provide the information requested in ltem
                                                                         14.
       NOTE: If you answered "No" to Item Number 6.,                     Numbers 16.a. - 17.b.
       provide your physical address below.
                                                                   f,'atherrs Name

 U.S. Physical Address                                             Provide your father's birth name.
                                                                   16.a. Family Name
7.a.   Street Number                                                     (Last Name)       CONDE
       and Name
                                                                   16.b. GivenName
                                                                                           Manolo
7.b.   nApt. !ste. [Etr                                                  (FirstName)

7.c.   City or Town                                                Motherrs Name
                                                                   Provide your mother's birth name.
7.d.   State            7.e. ZIP Code
                                                                   17.a. Family Name
                                                                         (LastName)        osrc
Other Information                                                  1.7.b. Given Name
                                                                         (First Name)      Marietta
8.     Alien Registration Number
                                           :,t:
                          >A-                                      Your Country or Countries of Citizenship or
                                           ':ii
9.     USCIS Online Account Number                                 Nationalily
                                                                   List all countries where you are currently   a   citizen or national.
                                                                   If you need extra   space to complete this item, use the space
10.    Gender                            luale        ffiFemale    provided in Part 6. Additional Information.

11.    Marital Status                                              18.a. Country
       ! Single ffi VtarrieA f] Divorced f]              Widowed         PHILIPPINES
12.    Have you previously filed Form I-765?                       18.b. Country

                                                  [ves    ENo            PHILIPPINES
13.a. Has the Social Security Administration (SSA) ever
      officially issued a Social Security card to you?
                                                  !Yes    ElNo
       NOTE: Ifyou    answered "No" to Item Number 13.a.,
       skip to Item Number 14. If you answered "Yes" to Item
       Number 13.a., provide the information requested in Item
       Number 13.b.


FormI-765 05/31/18                                                                                                             Page2 of7
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 Part?. Information About You                     (continued)               Information About Your Eligibility Category
                                                                            27.     Eligibility Category. Refer to the Who May File Form
 Place of Birth                                                                     I-765 section of the Form I-765 Instructions to determine
                                                                                    the appropriate eligibility category for this application.
List the cityltown/village, state/province, and country where
                                                                                    Enter the appropriate letter and number for your eligibility
you were bom.
                                                                                    category below (for example,
19.a.                           of Birth
                                                                                                                                        )(
                                                                            28.     (cX3XC) STEM OPT Eligibility Category. Ifyou
19.b. StatelProvince of Birth                                                       entered the eligibility category (c)(3)(C) in Item Number
         Agusan del Norte                                                           27.,provide the information requested in Item Numbers
                                                                                    28.a-28.c.
19.c.              of Birth
                                                                            28.a. Degree
         PHILIPPINES
                                                                            28.b.                Name as Listed in E-Veri
20.     Date of Birth (mm/dd/yyyy)                  0512411971

                                                                            28.c. Employer's E-Veriff Company Identification Number or a
Information About Your Last Arrivol in the                                        Valid E-Verify Client Company Identification Number
 United States
21.a. Form I-94                            Record Number
                                                                            29.     (c)(26) Eligibility Category. If you entered the eligibility
                               2              7     4',8   :2   6    2 4            category (c)(26) in Item Number 27., provide the receipt
                                                                                    number of your H-lB spouse's most recent Forml-797
21.b.              Number of Your Most                 Issued
                                                                                    Notice for Form I-129, Petition for   a   Nonimmigrant
         ECO892377                                                                  Worker.

21.c. Travel Document Number
                                                                            30.     (c)(8) Eligibility Category. If you entered the eligibility
                                                                                    category (c)(8) in Item Number 27.,have you EVER
21.d.              That Issued Your               or Travel Document
                                                                                    been anested for and/or convicted ofany crime?
         PHILIPPINES
                                                                                                                                [Yes [No
21.e. Expiration Date for Passport or Travel Document
                                                                                    NOTE: If you     answered "Yes" to Item Number 30.,
        (mm/dd/yyyy)
                                                  0412112019                        refer to Special Filing Instructions for Those With
                                                                                    Pending Asylum Applications (c)(8) in the Required
22. Date of Your Last Arrival Into the United                       On or
                                                                                    Documentation section of the Form I-765 Instructions
        About (mm/dd/yyyy)
                                                  o4l'1512011                       for information about providing court dispositions.
23.     Place of Your Last Arrival Into the United States                   3f.a. (c)(35) and (c)(36) Eligibility Category. Ifyou      entered
         New York, NY                                                               the eligibility category (cX35) in Item Number 27.,please
                                                                                    provide the receipt number of your Form I-797 Notice for
24.     Immigration Status at Your Last Arrival (for example,                       Form I-140, Immigrant Petition for Alien Worker. If you
        B-2 visitor, F-l student, or no                                             entered the eligibility category (cX36) in Item Number
                                                                                    27., please provide the receipt number ofyour spouse's or
                                                                                    parent's Form I-797 Notice for Form I-140.
25.     Your Current Immigration Status or Category (for example,
        B-2 visitor, F-l student, parolee, defened action, or no
        status or                                                           31.b. Ifyou entered the eligibility category (c)(35) or (c)(36) in
         H4 (l-485 Pending)                                                       Item Number 27.,have you EVER been arrested for
                                                                                  and/or convicted of any crime?              yes
26. Student and Exchange Visitor Information               System
                                                                                                                                !        nNo
        (SEVIS) Number        (if                                                   NOTE: If you answered "Yes" to ltem Number 31.b.,
                              >N-                                                   refer to Employment-Based Nonim migrant Categories,
                                                                                    Items 8. - 9., in the Who May File Form I-765 section
                                                                                    of the Form I-765 Instructions for information about
                                                                                    providing court dispositions.

Form    I-765   05/31/18                                                                                                               Page 3   of7
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 Part 3. Applicant's Statement, Contact                                  Applicant's Declaration and Certification
 lnformation, Declaration, Certification, and                            Copies of any documents I have submitted are exact photocopies
 Signature                                                               of unaltered, original documents, and I understand that USCIS
                                                                         may require that I submit original documents to USCIS at a later
NOTE:     Read the Penalties section of the Form I-765
                                                                         date. Furthermore, I authorize the release of any information
Instructions before completing this section. You must file
                                                                         from any and all of my records that USCN may need to
Form I-765 while in the United States.
                                                                         determine my eligibility for the immigrafion benefit that I seek.

 Applicant's Statement                                                   I furthermore authorize   release of information contained in this
                                                                         application, in supporting documents, and in my USCIS
NOTE:     Select the box for either Item Number l.a. or 1.b.        If   records, to other entities and persons where necessary for the
applicable, select the box for Item Number 2.                            administration and enforcement of U.S. immigration law.
1.a.    ffi   I can read and understand English, and I have read         I understand that USCIS may require me to appear for an
              and understand every question and instruction on this      appointment to take my biometrics (fingerprints, photograph,
              application and my answer to every question.               and/or signature) and, at that time, if I am required to provide
                                                                         biometrics, I will be required to sign an oath reaffirming that:
1.b.    n     The interpreternamedin Part 4.readtomeevery
              question and instruction on this application and my               1) I reviewed  and understood all of the information
              answer to                 1n                                          contained in, and submitted with, my application; and

                                                                                2) All of this information     was complete, true, and correct
              a            in which I am fluent,                                    at the time of   filing.
              everlhing.
                                                                         I certiff, under penalty of perjury, that all of the information in
.,
       XI     At my request, the           named in Part 5.,             my application and any document submitted with it were
                  AlLen E        Kaye                                    provided or authorized by me, that I reviewed and understand
                                                                         all of the information contained in, and submitted with, my
              prepared this application for me               upon
                                                                         application and that all of this information is complete, true, and
              information I provided or authorized.
                                                                         correct,

App I ic a nt Is C o ntact I nfo rmotio n
3.                   Daytime Telephone Number
                                                                         7.a.
                                                                         .)
4.            licant's Mobile Telephone Number      (if
                                                                         7.b.           of                                   t{             I r'\
                  (917    )   B6s-3s2s                                           Date
                                                                                             j                                     "4       lS.
5.                   Email Address
                                                                         NOTE TOATIL APPLICANTS: If you do not completely fiIl
                                                                         out this application or fail to submit required documents listed
                  mel thie008 G grnai              I . com               in the Instructions, USCIS may deny your application.
6.     n      Select this box if you are a Salvadoran or Guatemalan
              national eligible for benefits under the ABC
              settlement agreement.
                                                                         Part 4. Interpreter's Contact Information,
                                                                         Certiflcation, and Signatu re

                                                                         Provide the following information about the interpreter

                                                                         Interpreter's FuU Name
                                                                         l.a.                             Name



                                                                         1.b.                    Given Name          Name



                                                                         2.                      Business or                Name




Form   I-765   05/31/18                                                                                                                 Page 4   of 7
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 Part 4. Interpreterfs Contact Information,                          Part 5. Contact Information, Declarationn and
 Certification, and Signature                                        Signature of the Person Preparing this
                                                                     Application,If Other Than the Applicant
I nterpreter's Mailing Address                                       Provide the following information about the preparer
3.a. Street Number
       and Name                                                      Preparerts Futl Name
3.b.   I   Apt.      f]   ste.   I   rtr.                            1.a.                         Name

3.c.   City or Town                                                         KAYE
                                                                     1.b.                Given Name           Name
3.d.   State               3.e. ZIP Code
                                                                            Allen
3.f.   Province                                                      2.                  Business or                 Name

3.g.   Postal Code                                                                       Pollack lsaac and DeOicco LLP

3.h.                                                                 Prepurer's Mailing Address
                                                                     3.a.   Street Number
                                                                                               225 Broadway
                                                                            and Name
I nte rp reter   I
                 s   Co ntact    I nfo rmatio n                      3.b.   EApt.      Iste. ffirr             3
4.                                              Number
                                                                     3.c.   City or Town New           York
5.     Interpreter's Mobile Telephone Number (if any)                3.d.   State   NY        3.e.     ZIP Code 10007

                                                                     3.f.   Province
6.                    Email Address
                                                                     3.g.   Postal Code

                                                                     3.h.
Interprete rts Cerffication                                                 USA
I certifr, under penalty of                 that:
                                                                     Prep arer's C o ntact I nfo r matio n
I am fluent in English and
which is the same language                                           4.                                        Number
1.b., and I have read to this applicant in the identified language
                                                                                2) 233-8100
every question and instruction on this application and his or her
answer to every question. The applicant informed me that he or       5.                  Mobile               Number
she understands every instruction, question, and answer on the
application, including the Appticant's Declaration and
Certification, and has verified the accuracy ofevery answer.         6.                  Email Address
                                                                            aek@ppid.com
I nterpreter's S ignat ure
7.a.



7.b.   Date of Signature (mm/dd/yyyy)




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 Part 5. Contact Information, Declaration, and
 Signature of the Person Preparing this
 Applicationo If Other Than the Applicant
 (continued)

 Preparer's Statement
7.a. I     I am not an attorney or accredited representative
           but have prepared this application on behalfof
           the applicant and with the applicant's consent.

7.b. ffi I am an attorney   or accredited representative and
           my representation ofthe applicant in this case
           I  extends  !   does not extend beyond the
           preparation of this application.

           NOTE: If you   are an attomey or accredited ay
           need to submit a completed Form G-28, Notice
           of Entry of Appearance as Attorney or
           Accredited Representative, with this application.



 P rep nrer's CerliJicatio n

By my signature, I certifr, under penalty of perjury, that I
prepared this application at the request ofthe applicant. The
applicant then reviewed this completed application and
informed me that he or she understands all of the information
contained in, and submitted with, his or her application,
including the Applicant's Declaration and Certification, and
that all of this information is complete, true, and correct. I
completed this application based only on information that the
applicant provided to me or authorized me to obtain or use.


Prepnrer's Signotare
8.a.



8.b.   Date of Signature
                                              lt-llo-{{




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  Part 6. Additional Information                                     5.a.   Number 5.b.   Part   Number 5.c.   Item Number

 Ifyou   need extra space to provide any additional information
 within this application, use the space below. If you need more      5.d.
 space than what is provided, you may make copies of this page
to complete and file with this application or attach
                                                  a separate
sheet of paper. Type or print your name and A-Number (if any)
at the top of each sheet; indicate the Page Number, Part
Number, and Item Number to which your answer refers; and
sign and date each sheet.

 l.a.    Family Name
         (Last Name) SUMAJIT
1.b.     Given Name
                        Melthie
         (First Name)

l.c.     Middle Name Conde                                           6.a,   Number 6.b.   Part   Number 6.c.   Item Number

2.      A-Number(ifany)     )A-
                                                                     6.d.
3.a.         Number 3.b.      Part   Number 3.c.       Item Number



3.d.




                                                                     7.a.   Number 7.b. PartNumber 7.c. ItemNumber


                                                                     7.d.


4.a.         Number 4.b.      Part   Number 4.c.       Item Number


4.d.




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         R@iptNumbtr                                                                             C&Tt?e
         EAC1890040734                                                                           1539 . APPLICATION TO EXTEND/CHANGE NONIMMIGRANT
                                                                                                 STATUS
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         ou09n0l8                                                                                SIJMAJIT, WALTER GADRINAB
         Notice llate                                  Page
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                  WALTER GADRINAB SUMANT                                                                                  Notice Type: Transfer Notice
                  c/oALLENEKAYE
                POLLACK POLLACK ISAAC DECICCO
               225 BROADWAYFLR 3
               NEWYORKI.{Y 10007



         In order to speed up processing, we transferred the application or petition ("your case") listed above to the following USCIS office for processing:

                  CALIFORMA SERVICE CENTER, 2,000 Avila Road 2nd Ftr, Laguna Niguel, CA 92677
         That offic€       will notifr you in writing when they make a decision    on your case or   ifthey   need additional information.
         If  any of the above information is incorrect or you have any questions about the status of your casg please catl the USCIS National Clstomer
         Service Center (NGC) at 1-800-375-52E3 or visit the USCIS website at www.uscis.gov (if you are hearing impaired, the NCSC TDD number is
          l-80G767-1833). Ifyou call us, please have your Alien Registration Number (A-Number) and/or the receip number shown above. The receipt number is a
         tracking number for your case and will help with inquiries.
         Processing time - Processing times vary by case type. Go to www.itscis.gov to se€ the cwrcnt proc€ssing times tisted by case type and office.
              .     View your case status on our website's Case Status Online page.
              .   You can also sign up to receive free email updates as we process your case.
              '   Most of the time your case is pending, the process status will not change. This is because we are working on cases that were filed
                                                                                                                                                     lefore your case.
              '   When we make a decision on your case or if we need something from you we will noti$ you by mail and update our systems.
              '   Ifyou do not receive an initial decision or update frorn us within our cunent processing time, contact the NCSC at l-800-375-5283 or visit our
                  website at www.uscis.gov.




              see                                 on                  will                                            cases

      Vennont Service Center
      U. S. CITIreNSHIP& IMMIGRATION SVC
      75 Lower Weldetr Sheet
      Saint Albans VT 05479-0001

      USCIS Contact Center: 1-800-375-5283




If   this is an interview or biometrics appointment notice, please           see   the back ofthis notice for lmportant lnformation.                   FormI-797C 07lllll4 Y
         u.s.                                       Services                                                                                  I rtrt                r-    r   -, t \,,   J.\t l.lLE vr .al'l"tllrtt
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         THIS N OTI CE DO ES NOT GRAI.{T ANY IMMIG RATI oN s TATUS                                                                                                                 oR BENEF'IT

            TYPE


                                                            BECEIVED DATE                                                                                  PAGE




                                                                                                                                       PAYMEIIITINFORMATION:
                             WALTER G. SUMAJIT
                             c/o ALLEN E. KAYE poLLAcK poLLAct( tsAac                                                                  Applicadon/Petition Fee:                           $370.00
                             225 BROADWAYFLR3                                           ffiqF,gg                                       Bionetrics Fee:                                    $0.00
                             NEW YOHK, NY 1OOO7
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                            APPLICANT/PEIITIONER NAME AND MAILING ADDRESS



  The I-539, Application to Extend-Change Nonimmigrant Satus
                                                             )'ou submitt€d has been reoeived by our ofifrce for the following
  applicants and is in process:

   Name                                                      Date    of   Blrtsh           Country of Birth                             Class (If Applicable).
  SUMAiIIT, WAIJTER                                          8/23/1e71"                    PIITIJTPPTNES                                                B2
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 Please verify your pe'rsonal information listed above and inrmediately nodry the USfiS
                                                                                        National Custoper Service Center at the
 phonenumber listed below if there are any changes.

 Flease note that      ifa priority    date is printed on this notice, the priority does not reflect earlier reained priority dates.

 If you have questions
                     ab.out qossibfe-lTllgation benefits and services, filing information, or USCIS foms, please
                                                                                                                  call tle USCIS
 National Customer Service Center (NCSC) at 1-800-375-5283. If you are hiaring inpaire4 please
                                                                                                   call tne iICSC TDD at
 1-800-767-1833. Please alsorefer to the usclS websitq www.uscis.gov

 If you have anyquestims or commetrts regarding this notice or the                          status of your case, please contact ouf customer servicenumber.

 You will be notified separately about any other case you may have filed.




USCIS OfficeAddress:                                                                                     USC$ Customer Service Number:
Departrre,nt of Homeland         Seority                                                                 (800)375-5283
Vennont Service Center
                                                                                                         ATIORNEY COPY
T5lower Welden Street
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   If   this is an interview or biometrics appointnent notice, please      see the   back of this notice for important lnformation.                                                      FormI-797C 07lllil4    y
 Departrncnt of Homehnd     Security                           :
                                                                                                                                             "'oao5!5 *{\
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